  Case 19-10055                 Doc 21         Filed 05/29/19 Entered 05/29/19 08:45:09      Desc Main
                                                  Document Page 1 of 1
      FILED & JUDGMENT ENTERED
                Steven T. Salata




            May 29 2019


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                              _____________________________
                                                                                      George R. Hodges
                                                                                United States Bankruptcy Judge




                               UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NORTH CAROLINA

 In Re:                                                   )
                                                          )
 David Keith Bailey                                       )          Case No. 19-10055
 Debra Lynn Bailey                                        )
                                            Debtors       )

           ORDER APPROVING EX PARTE APPLICATION TO RETAIN BK GLOBAL
                          REAL ESTATE SERVICES

        Upon consideration of the application of Barbara B. Stalzer, Trustee, seeking approval for
the retention of BK Global Real Estate Services to provide marketing services and short sale
negotiations with the secured creditor, and it appearing that said firm is qualified and competent
to assist the Trustee with such requirements, that said firm has no interest in the estate that would
disqualify it from the proposed employment, and that the fees to be paid are reasonable, it is

       ORDERED that the employment by the Trustee of BK Global Real Estate Services on the
terms set forth in the Trustee's application is approved.




 This Order has been signed electronically. The                             United States Bankruptcy Court
 Judge’s signature and court’s seal appear at the top
 of the Order.




R&S 2236340_1
